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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                     Case No. 1:24-cr-00326-JDB
       v.

 CARLOS AYALA,

              Defendant.



                            DECLARATION OF CARLOS AYALA

I, CARLOS AYALA, pursuant to 28 U.S.C. § 1746, declare as follows:



       1. The Court has provisionally approved my request to travel outside the country (El

Salvador) from December 23, 2024 to January 3, 2025, for a family vacation to celebrate

Christmas.

       2. I hold a valid U.S. passport, which I have surrendered to the Pretrial Services Agency as

a condition of my release in the above-referenced case.

       3. As a further condition of my release, in order to travel beyond the continental United

States, it is necessary for me to obtain prior Court approval.

       4. I hereby waive any and all right to be extradited to the United States under the laws of

any country, including but not limited to El Salvador. I will not seek any protection afforded by:

any extradition rights, any treaty, or any law of any country, including El Salvador, that allow for

my refuge in any country. Further, I will not appeal any decision by any country to be extradited

to the United States during the pendency of this case.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on the _______
                       17th    day of December, 2024 in Salisbury, Maryland.


                                                                   ____________________
                                                                   CARLOS AYALA




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